Case 2:19-cv-00561-GZS Document1 Filed 12/11/19 Pagelof9 PagelID#:1

Appendix A: Sample Complaint and Civil Cover Sheet

IN THE UNITED STATES DISTRICT COURT 1.5, 1S TRIGT Sau!
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FOR THE DISTRICT OF ene
(Write the District and Division, ifany, of | RECTIVEO & FILED

the court in which the complaint is filed.) ag DEC 11 A157

 

 

en Fei n. se Complaint for a CAP GagEL EK
WAC Love Heme steac nee Farms _ Case No.

(Write the full name of each plaintiff who 7 filing (to be filled in by the Clerk’s Office)
this complaint. If the names of all the plaintiffs

cannot fit in the space above, please EL? ee Jury Trial: ot Yes ONo
attached” in the space and attach an additional (check one)
page with the full list of names.)

 

-against-

“SEC RTBChAA *
Noetheasr Tehnical institute _
(andal\ aliases) , votes Lipenis >

Jer Burbine , Susan lem wer,
(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

 

 

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L. The Parties to This Complaint

A, The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.

Name
Street Address
City and County

State and Zip Code
Telephone Number

E-mail Address

B. The Defendant(s)

‘Deudlas Cc Avery

3 Soawew Dr AT 4
Windham Cumberland
Mee ine. ALole2-
207 ~ 572 -8E5F

dco. NOB Valeo, Com

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address
(if known)

Defendant No. 2

Name

Job or Title
(if known)

Street Address
City and County
State and Zip Code
Telephone Number

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E-mail Address
(if known)

 

Defendant No. 3

Name JEeF But ay he
Job or Title Genera\ Manage”
(if known) JS

Street Address

City and County
State and Zip Code MANE
Telephone Number

E-mail Address
(if known)

 

 

 

Defendant No. 4
Name Susp ) emienrxX

fc ee M

Job or Title Was HR
Gif known)

Street Address

City and County

State and Zip Code mae. —_
Telephone Number

E-mail Address
(if known)

 

 

 

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

of Federal question O Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
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A.

If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

 

 

 

If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)
Oo. Tes ©: Pery
a. If the plaintiff is an individual
Maine
® The plaintiff, (name) 6 , is a citizen of

the State of fname) Wa yy 0,

b. If the plaintiff is a corporation

The plaintiff, (name) fukn leashed fo incorporated

under the laws of the State of (name)
and has its.principal place of business in the State ae (name)

Mand

(if more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

2 The Defendant(s)

 

a, If the defendant is an individual
The defendant, (name) . james | yarnts , is a citizen of
the State of (name) nave . Orisa citizen of

 

(foreign nation)

 

b. If the defendant is a corporation
ute
; : wl
The defendant, (name) _Npeycaot Tecnica | N”" ‘is
incorporated under the laws of the State of (name)

Meine _/pets) Hamashy fe_, and has its principal place of
business in the State of (name) mgine . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of

business in (name)

 

(If more than one defendant is named in the complaint, attach an

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additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy — =10 Ti O¥2 2 fre Sen
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The amount in controversy—the amount the plaintiff claims the a
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

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( tretment 4 |
Srp Robert ep aiect Supervisor, OTT ne)

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II. Statemerit of a ‘e

Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that
caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach
additional pages if needed.

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State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages.

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Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

] agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: Pec. (©, 20/7.

   

Signature of Plaintiff
Printed Name of Plaintiff

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address
Telephone Number
E-mail Address

 

 

 

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5) Rober+ Horr “

lc) Stephanie Anderson

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S) Maine Human Rights COMMIS. S72

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